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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:02-cr-00043-MP-AK

DEMETRIUS GERMAINE KENNEDY,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 418, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Amended Motion to Vacate, Doc. 368,

be denied. The Magistrate Judge filed the Report and Recommendation on Tuesday, April 8,

2008. The parties have been furnished a copy of the Report and have been afforded an

opportunity to file objections. Pursuant to Title 28, United States Code, Section 636(b)(1), this

Court must make a de novo review of those portions to which an objection has been made.

       In his Motion to Vacate, Defendant raises eighteen grounds for relief, the majority of

which allege that his trial counsel was ineffective. After thoroughly reviewing each allegation,

the Magistrate concludes that none of Defendant’s claims has merit, and recommends that the

amended motion to vacate be denied. Defendant has filed a premature motion for a certificate

of appealability, which the Court construes as objections to the Magistrate’s Report. In his

objections, Defendant argues that the Magistrate failed to consider properly his claim that

counsel was ineffective in failing to object to the calculation of drug amounts, the converging of

powder cocaine into crack cocaine, and failing to raise an Apprendi argument at sentencing.

       The Magistrate points out that trial counsel did in fact object to the drug quantities at

sentencing, and raised the issue on appeal. The Eleventh Circuit rejected the argument, and
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Defendant has failed to show either deficient performance from counsel, or any resulting

prejudice. Furthermore, since the Government offered sufficient proof at trial that the drugs

involved in the conspiracy were in fact crack cocaine, the Court agrees with the Magistrate that

counsel was not ineffective by failing to lodge frivolous objections on this ground. Finally, the

Court agrees with the Magistrate that since a jury found Defendant responsible for more than 50

grams of crack cocaine, no Apprendi violation occurred. Nothing in Apprendi prevents the

Court from considering relevant conduct of the co-conspirators in assessing a defendant’s overall

offense level.

        Therefore, having considered the Report and Recommendation, and the objections

thereto, I have determined that it should be adopted. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Defendant’s Amended Motion to Vacate, Doc. 368, is DENIED.

        DONE AND ORDERED this            30th day of April, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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